     Case 23-11463-ABA           Doc 29 Filed 06/05/23 Entered 06/05/23 05:40:20                     Desc Cert.
                                  of Fin. management Cert. Page 1 of 1
Form finmgtc

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 23−11463−ABA
                                         Chapter: 13
                                         Judge: Andrew B. Altenburg Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   William A. Spence                                        Sontay L. Spence
   410 Snow Fox Lane                                        410 Snow Fox Lane
   Egg Harbor Township, NJ 08234                            Egg Harbor Township, NJ 08234
Social Security No.:
   xxx−xx−6338                                              xxx−xx−1401
Employer's Tax I.D. No.:




 NOTICE OF FAILURE TO FILE CERTIFICATION ABOUT A FINANCIAL MANAGEMENT COURSE




To receive a discharge each individual debtor must participate in a personal financial management course. The
course provider may file a Certificate of Debtor Education, or the debtor must file a Certification About a Financial
Management Course (Official Form 423) proving compliance with the financial management course requirement for
discharge (each debtor in a joint case must file a separate Certification). The Certification must be filed by:

       Chapter 13: [No Later than the date you make the last payment under your plan.]

To date the court has not received the above document from the debtor(s), nor has it received a Certificate of Debtor
Education from a course provider. If the court does not receive the document(s) within the time frame set forth
above, your case will be closed without entry of the discharge. If the case is closed without entry of the discharge
you must file a Motion To Reopen to allow for the filing of the document(s) and pay the applicable filing fee.




Dated: June 5, 2023
JAN: admi

                                                                 Jeanne Naughton
                                                                 Clerk
